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                       EXHIBIT A
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              NO. 18-CI-00001                                          JEFFERSON CIRCUIT COURT
                                                                          DIVISION THIRTEEN (13
                                                                         HON. ANN BAILEY SMITH

              STEPHEN LIVELY                                                              PLAINTIFF

              v.

              LIFE INSURANCE COMPANY OF NORTH
              AMERICA                                                                   DEFENDANT

                                                    ANSWER

                     Comes the Defendant Life Insurance Company of North America (“LINA”) for

              its Answer to the Complaint in the above-captioned action and states as follows:

                                        FIRST AFFIRMATIVE DEFENSE

                     The Complaint fails to state a claim against LINA upon which relief can be

              granted, in that in administering and denying Plaintiff’s claim for short-term

              disability benefits, LINA acted in good faith, reasonably, based on substantial

              evidence, not arbitrarily and capriciously, and in accordance with the discretion

              granted to it by the Short-Term Disability Plan sponsor/administrator, BAE

              Systems, and the terms and provisions of Plan documents and instruments.

                                       SECOND AFFIRMATIVE DEFENSE

                     The Complaint fails to state a claim against LINA upon which relief can be

              granted, in that the Short-Term Disability Plan at issue is self-funded by Plaintiff’s

              employer, BAE Systems. BAE Systems is therefore the only party that is

              contractually obligated to pay benefits due under the terms of the Plan. LINA merely
                                                                                                       ANS : 000001 of 000008




              contracted with BAE Systems to administer claims for benefits made under the Plan.

              Accordingly, if it were determined that short-term disability benefits are owed to




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              Plaintiff under the terms of the Plan then those benefits would be owed solely by

              BAE Systems and not LINA .

                                        THIRD AFFIRMATIVE DEFENSE

                     Plaintiff’s employer BAE Systems is an indispensable party to this action

              pursuant to CR 19.01 in that the Short-Term Disability Plan at issue is self-funded by

              BAE Systems, and, consequently, any benefits paid pursuant to the Plan terms are

              paid exclusively by BAE Systems. Accordingly, if Plaintiff was contractually entitled

              to short-term disability benefits then BAE Systems, and not LINA, would be the

              party in breach of contract and the party that would be contractually obligated to

              pay the benefits. LINA merely contracted with BAE Systems to administer claims for

              benefits made under BAE System’s short-term disability plan. Because of Plaintiff’s

              failure to join BAE Systems in this action complete relief cannot accorded among or

              between Plaintiff and LINA, and Plaintiff’s claims against LINA should therefore be

              dismissed.

                                       FOURTH AFFIRMATIVE DEFENSE

                     Plan terms provide that disability benefits are coordinated or integrated with

              specified “Other Income Benefits” including, but not limited to, any disability

              benefits payable under the Federal Social Security Act which the employee receives

              (or is assumed to have received) on his own behalf; any benefits received under any

              state disability compensation plan such as workers’ compensation; certain disability

              earnings; any pension/retirement benefits and any disability benefits due or owing
                                                                                                        ANS : 000002 of 000008




              under any other disability policy. If Plaintiff is adjudge to be entitled to Short-Term




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              Disability benefits in this action, such benefits must be reduced or offset by any

              other benefits which are payable or have been paid.

                                         FIFTH AFFIRMATIVE DEFENSE

                     Plaintiff’s claims are barred by the contractual limitations period prescribed

              by the terms of the Short-Term Disability Plan.

                                         SIXTH AFFIRMATIVE DEFENSE

                     Plaintiff has waived any claim he may have had for short-term disability

              benefits.

                                        SEVENTH AFFIRMATIVE DEFENSE

                     Plaintiff’s claim for short-term disability benefits is barred on account of his

              failure to comply with the Plan terms and his failure to cooperate with the

              administration of his claim as required by the Plan terms.



                            ANSWER TO THE ALLEGATIONS OF THE COMPLAINT

                     With regard to the specific allegations of the Complaint, LINA states as

              follows:

                     1.     LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 1 of the Complaint and,

              therefore, denies them.

                     2.     In response to the allegations of Paragraph 2 of the Complaint LINA

              admits it is an insurance company domiciled in Pennsylvania with its principal place
                                                                                                        ANS : 000003 of 000008




              of business in Philadelphia, Pennsylvania. LINA further admits that it is a for-profit




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              corporation and does business in the Commonwealth of Kentucky. LINA denies the

              remainder of the allegations in Paragraph 2 of the Complaint.

                     3.     LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 3 of the Complaint and,

              therefore, denies them.

                     4.     LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 4 of the Complaint and,

              therefore, denies them.

                     5.     LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 5 of the Complaint and,

              therefore, denies them.


                     6.     LINA denies the allegations contained in Paragraph 6 of the

              Complaint. LINA affirmatively states that BAE Systems is the sponsor and

              administrator of the Short-Term Disability Plan maintained by BAE Systems, and

              further states that LINA, and not an entity known as “Cigna,” contracted with BAE

              Systems to act solely as the claim administrator for the Plan.


                     7.     LINA denies the allegations of Paragraph 7 of the Complaint.

                     8.     LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 8 of the Complaint and,

              therefore, denies them
                                                                                                      ANS : 000004 of 000008




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                     9.     LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 9 of the Complaint and,

              therefore, denies them

                     10.    LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 10 of the Complaint and,

              therefore, denies them.

                     11.    LINA denies the allegations contained in Paragraph 11 of the

              Complaint. LINA also affirmatively reiterates that LINA, and not an entity known as

              “Cigna,” was the claim administrator for BAE Systems’ Short-Term Disability Plan.

                     12.    LINA denies the allegations contained in Paragraph 12 of the

              Complaint. LINA also affirmatively reiterates that LINA, and not an entity known as

              “Cigna,” was the claim administrator for BAE Systems’ Short-Term Disability Plan.

                     13.    LINA denies the allegations contained in Paragraph 13 of the

              Complaint. LINA also affirmatively reiterates that LINA, and not an entity known as

              “Cigna,” was the claim administrator for BAE Systems’ Short-Term Disability Plan.

                     14.    LINA denies the allegations contained in Paragraph 14 of the

              Complaint, and it further denies any implied allegation that there was a contractual

              or legal requirement for physician review of Plaintiff’s claim for benefits. LINA also

              affirmatively reiterates that LINA, and not an entity known as “Cigna,” was the claim

              administrator for BAE Systems’ Short-Term Disability Plan.
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                     15.    LINA presently lacks sufficient information to form a belief as to the

              truth or falsity of the allegations contained in Paragraph 15 of the Complaint and,

              therefore, denies them.



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                     16.    LINA denies the allegations contained in Paragraph 16 of the

              Complaint. LINA also affirmatively reiterates that LINA, and not an entity known as

              “Cigna,” was the claim administrator for BAE Systems’ Short-Term Disability Plan.

                     17.    LINA denies the allegations contained in Paragraph 17 of the

              Complaint, and it further denies any implication that there is a contractual or legal

              requirement for physician review of all claims. LINA also affirmatively reiterates

              that LINA, and not an entity known as “Cigna,” was the claim administrator for BAE

              Systems’ Short-Term Disability Plan. LINA additionally states that under the Plan’s

              terms BAE Systems was at all times solely responsible for payment of short-term

              disability benefits due under the Plan.

                     18.    In response to the allegations contained in Paragraph 18 of the

              Complaint LINA incorporates and restates each of its answers to Paragraphs 1-17 of

              the Complaint.

                     19.    LINA denies the allegations contained in Paragraph 19 of the

              Complaint.

                     20.    LINA denies the allegations contained in Paragraph 20 of the

              Complaint. LINA also affirmatively reiterates that LINA, and not an entity known as

              “Cigna,” was the claim administrator for BAE Systems’ Short-Term Disability Plan.

                     21.    In response to the allegations contained in Paragraph 21 of the

              Complaint LINA incorporates and restates each of its answers to Paragraphs 1-20 of
                                                                                                      ANS : 000006 of 000008



              the Complaint.

                     22.    LINA denies the allegations contained in Paragraph 22 of the

              Complaint.



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                     23.    LINA denies the allegations contained in Paragraph 23 of the

              Complaint.

                     24.     LINA denies the allegations contained in Paragraph 24 of the

              Complaint.

                     25.    To the extent that a response is required by LINA to the “Wherefore”

              allegations of the Complaint, LINA denies them and it denies that Plaintiff is entitled

              to any of the relief for which he prays in his Complaint.

                     26.    LINA denies each and every allegation contained in the Complaint to

              which it has not specifically responded or otherwise pleaded.

                                                          Respectfully submitted,


                                                          /s/David A. Calhoun
                                                          David A. Calhoun
                                                          Mitzi D. Wyrick
                                                          Wyatt, Tarrant & Combs, LLP
                                                          500 W. Jefferson Street, Suite 2800
                                                          Louisville, KY 40202
                                                          (502) 589-5235
                                                          (502) 589-0309
                                                          dcalhoun@wyattfirm.com
                                                          mitziwyrick@wyattfirm.com
                                                          Counsel for Defendant Life Insurance
                                                          Company of North America




                                                                                                        ANS : 000007 of 000008




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                                            CERTIFICATE OF SERVICE

                             The undersigned hereby certifies on this 26 day of February, 2018, the
              foregoing Answer was filed with the clerk via electronic filing and served upon the
              following via regular U.S. Mail, postage pre-paid:

              Rob Astorino, Jr.
              2525 Bardstown Road, Suite 101
              Louisville, KY 40205
              Counsel for Plaintiff, Stephen Lively


                                                        /s/David A. Calhoun
                                                        David A. Calhoun
              61713357.1




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        CASE NO. 18-CI-00001                                             JEFFERSON CIRCUIT COURT
                                                                                      DIVISION 13
                                                                          JUDGE ANN BAILEY SMITH

        STEPHEN LIVELY                                                                        PLAINTIFF

        v.              MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

        LIFE INSURANCE COMPANY OF NORTH AMERICA                                             DEFENDANT
        d/b/a Cigna Group Insurance

                                                    *********
                Please take notice that the Plaintiff, by counsel, will make the following motion and tender

        the attached order in open court on Monday, January 28, 2018 at 3:45 PM or as soon thereafter as

        the case is called.

                                                     MOTION

                The Plaintiff, by counsel, respectfully requests leave of court to file the attached Amended

        Complaint.

                BAE Systems is a proper party under the terms of the Plan at issue in this action.

                WHEREFORE, the Plaintiff respectfully requests that he be given leave to file the attached

        amended complaint.

                                                              Respectfully submitted,

                                                              /s/Rob Astorino Jr._______
                                                              Rob Astornino Jr. (#95508)
                                                              STEIN WHATLEY ATTORNEYS, PLLC
                                                              2525 Bardstown Road, Suite 101
                                                              Louisville, KY 40205
                                                              (502) 553-4750
                                                                                                               AM : 000001 of 000002



                                                              Fax (502) 459-2687
                                                              rastorino@steinwhatley.com

                                          CERTIFICATE OF SERVICE



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               I certify that a true and accurate copy of the foregoing was filed via Kentucky’s efiling
        system which will forward copies to all listed attorneys, I further certify that a true and accurate
        copy of the foregoing was served via email on the 10th of January, 2019 to:

        David Calhoun
        WYATT, TARRANT & COMBS, LLP
        500 West Jefferson Street
        Suite 2800
        Louisville, KY 40202
        Fax: 502-589-0309
        dcalhoun@wyattfirm.com

        /s/Rob Astorino Jr.
        Rob Astorino Jr.




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        CASE NO. 18-CI-00001                                             JEFFERSON CIRCUIT COURT
                                                                                      DIVISION 13
                                                                          JUDGE ANN BAILEY SMITH

        STEPHEN LIVELY                                                                       PLAINTIFF

        v.                             FIRST AMENDED COMPLAINT

        LIFE INSURANCE COMPANY OF NORTH AMERICA                                           DEFENDANTS
        d/b/a Cigna Group Insurance

        AND

        BAE SYSTEMS LAND & ARMAMENTS L.P.
        2000 North 15th Street, 11th Floor
        Arlington, VA 22201

                Serve: CT Corporation System
                       306 W. Main Street
                       Suite 512
                       Frankfort, KY 40601

                                                  *********
                Comes the Plaintiff, Stephen Lively, by and through counsel, and for his cause of action

        against the Defendants Life Insurance Company of North America d/b/a Cigna Group Insurance

        and BAE Systems Land & Armaments L.P. (“BAE”) and states as follows:

             1. Plaintiff, Stephen Lively, is and at all times relevant hereto was a citizen of Louisville,

        Jefferson County, Kentucky.

             2. Defendant, Life Insurance Company of North America d/b/a Cigna Group Insurance

        (“Cigna”), is and at all times relevant hereto was a foreign corporation conducting business within

        the bounds of Louisville, Jefferson County, Kentucky and is subject to Kentucky’s long arm statue.

             3. Defendant, BAE Systems Land & Armaments L.P. (“BAE”), ”), is and at all times relevant
                                                                                                              EXH : 000001 of 000005




        hereto was a foreign corporation conducting business within the bounds of Louisville, Jefferson

        County, Kentucky and is subject to Kentucky’s long arm statue.




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            4. Jurisdiction is proper in this court because all relevant transactions occurred in Louisville,

        Jefferson County, Kentucky and the damages exceed the jurisdictional limit.

                                                       FACTS

            5. Plaintiff was and is a full-time employee of BAE for a sufficient time period to be eligible

        for insurance benefits under plan #SHD0985161.

            6. As a full time employee, Plaintiff was eligible for, and was participating in the short term

        and long term disability plan (“Plan”) offered by Employer.

            7. At all times relevant to this Complaint, the Plan was administered by Cigna and at all

        relevant times Cigna remained the plan administrator.

            8. By virtue of Plaintiff’s medical impairments, and according to medical personnel, it is

        apparent that Plaintiff was temporarily totally disabled.

            9. Plaintiff applied for short term disability benefits under the Plan.

            10. Plaintiff was denied benefits by Cigna against the recommendations of 2 of Plaintiff’s

        treating doctors based on Cigna’s internal documentation and review process.

            11. Plaintiff appealed and was denied. Plaintiff has exhausted all administrative remedies.

            12. Cigna’s in house medical review performed by the Defendant's "hired medical

        reviewer(s)", practitioner(s) of unknown qualifications, erroneously concluded that the Plaintiff

        was able to perform an occupation. The Defendant Cigna fails to offer a rational basis as to why

        it does not concur with a diagnosis of disability consistent with Plaintiff's treating physicians who

        opine Plaintiff cannot return to work.      By relying only on its reviewing physicians, Cigna has

        violated its fiduciary duty to Plaintiff and the ERISA statue.
                                                                                                                EXH : 000002 of 000005




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            13. Cigna’s in-house reviewing staff erroneously concluded that the Plaintiff was capable of

        performing his duties during the time he claimed short term disability. Cigna refused to consider

        all of the Plaintiff’s medical ailments and combined effect on him to deny benefits.

            14. Cigna’s refusal to consider Plaintiff's combination of medical impairments, and the effect

        each has on the other, is error. The Claimant is entitled to have the combination of all impairments

        considered under the Plan. The Defendant so callously ignored substantive medical proof that it

        cannot now enjoy the, so-called, arbitrary and capricious standard of review despite plan language

        to the contrary, and the medical history should be reviewed de novo.

            15. Upon information and belief Cigna did not use a physician to review Plaintiff’s file.

            16. No physician who has treated Plaintiff has questioned the validity of his total temporary

        disability.

            17. Defendant Cigna’s conclusions that Plaintiff is not temporarily totally disabled was

        arbitrary and capricious, based on faulty data, flies in the face of the longitudinal medical evidence

        from the treating sources, and was executed in violation of relevant provisions of the plan.

            18. At all relevant times Cigna was acting under a conflict of interest as it was the entity which

        determined if the Plaintiff was disabled and the entity which is responsible for payment of STD

        wage replacement benefits.

            19. Plaintiff is entitled to short term disability benefits under the Plan.

            20. BAE has failed and refused to pay benefits due under the Plan.

                                                 COUNT I
                                            BREACH OF CONTRACT
                                                                                                                 EXH : 000003 of 000005




            21. The allegations contained in numerical paragraphs 1 thru 20 are incorporated by reference

        in this Count I.

            22. Plaintiff was and is entitled to insurance benefits under the terms of the Plan.

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            23. Defendant, Cigna has failed and refused to authorize payment under the terms of the

        contract.

            24. Defendant, BAE has failed and refused to make the proper payment under the terms of the

        contract.

                                                COUNT II
                                         BREACH OF ERISA STATUTE

            25. The allegations contained in numerical paragraphs 1 thru 24 are incorporated by reference

        in this Count II.

            26. Pursuant to the ERISA statute Plaintiff is entitled to short term disability benefits under the

        Plan.

            27. Defendant has wrongfully denied Plaintiff short term disability benefits and has breached

        the terms of the Plan.

            28. Defendant's decision to deny Plaintiffs benefits and their claim handling have been

        arbitrary and capricious and is not supported by substantial evidence, and is tantamount to a breach

        of contract, violating Plaintiff’s expectations pursuant to the terms of the contract of insurance.

        WHEREFORE, Plaintiff, Stephen Lively, through counsel, respectfully demands as follows:

                1.      Judgment against Defendants; Cigna and BAE for all amounts due and owing to

        be determined at a jury trial of this matter;

                2.      His costs herein incurred;

                3.      Pre-judgment interest and post-judgment interest as permitted by law;

                4.      A reasonable attorney's fee as permitted by law;
                                                                                                                  EXH : 000004 of 000005




                5.      Trial by jury for all issues so triable; and,

                6.      Any other and further relief as it may appear justly entitled.

                                                                        Respectfully submitted,

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                                                        /s/Rob Astorino Jr.___
                                                        Rob Astorino Jr.
                                                        STEIN WHATLEY ATTORNEYS, PLLC
                                                        2525 Bardstown Road, Suite 101
                                                        Louisville, KY 40205
                                                        (502) 553-4750
                                                        (502) 459-2687 fax
                                                        rastorino@steinwhatley.com




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     CASE NO. 18-CI-00001                                             JEFFERSON CIRCUIT COURT
                                                                                   DIVISION 13
                                                                       JUDGE ANN BAILEY SMITH

     STEPHEN LIVELY                                                                        PLAINTIFF

     v.                                            ORDER

     LIFE INSURANCE COMPANY OF NORTH AMERICA                                             DEFENDANT
     d/b/a Cigna Group Insurance

                                                   *********
              Motion having been made and the Court being otherwise sufficiently advised,

     IT IS HEREBY ORDERED that Plaintiff shall have leave to file the attached First Amended

     Complaint.

     IT IS FURTHER ORDERED that summons shall issue to the parties not previously served in the

     present lawsuit.

                                                    _________________________________________
                                                    JUDGE ANN BAILY SMITH               DATE
                                                    JEFFERSON CIRCUIT COURT
                                                    DIVISION THIRTEEN (13)
     Distributed to:

     Rob Astornino Jr. (#95508)
     STEIN WHATLEY ATTORNEYS, PLLC
     2525 Bardstown Road, Suite 101
     Louisville, KY 40205

     David Calhoun
     WYATT, TARRANT & COMBS, LLP
     500 West Jefferson Street
     Suite 2800
     Louisville, KY 40202
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